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 8                                  UNITED STATES DISTRICT COURT
 9                                SOUTHERN DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA ,                       )   Civil No. 06-CV-935-L
                                                    )   Criminal No. 02-CR-2912-3-L
12                   Plaintiff-Respondent,          )
                                                    )   ORDER DENYING DEFENDANT’S
13 v.                                               )   MOTION UNDER 28 U.S.C. § 2255
                                                    )   TO VACATE, SET ASIDE OR
14 ILYAS ALI,                                       )   CORRECT SENTENCE
                                                    )
15                   Defendant-Petitioner.          )
                                                    )
16                                                  )
17             Defendant, a prisoner in federal custody proceeding pro se, filed a motion pursuant to 28
18 U.S.C. § 2255 to vacate, set aside, or correct sentence (“Motion”) following his guilty plea and
19 sentencing in Criminal Case No. 02cr2912-3-L. The government filed a response, to which
20 defendant did not reply. The Motion is DENIED and this case is DISMISSED WITH
21 PREJUDICE because Defendant’s allegations fail to establish ineffective assistance of counsel
22 with respect to the Plea Agreement, and because the express terms of the Plea Agreement
23 waiving Defendant’s right to bring the Motion are enforceable.
24             Defendant was represented by counsel throughout his criminal case. He was indicted on
25 one count of conspiracy to distribute heroin and hashish in violation of 21 U.S.C. § 841(a)(1)
26 (Count 1), one count of conspiracy to import heroin and hashish into the United States in
27 violation of 21 U.S.C. §§ 952 and 960 (Count 2), and one count of conspiracy to provide
28 / / / / /
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 1 material support to terrorists in violation of 18 U.S.C. § 2339B(a)(1) and (d) (Count 3).
 2 (Indictment filed 10/30/02.)
 3         On March 3, 2004, Defendant entered into a Plea Agreement. Defendant agreed to plead
 4 guilty to Counts 1 and 3; waive his right to trial, appeal and collateral attack; and not recommend
 5 any downward departures, in exchange for the government’s agreement to dismiss Count 2 and
 6 to make the following recommendations: a three level sentencing adjustment for acceptance of
 7 responsibility on each remaining count; a two level reduction and relief from any statutory
 8 mandatory minimum sentence on Count 1 if Defendant truthfully discloses all relevant
 9 information and evidence and otherwise qualifies under § 5C1.2 for such relief; and a sentence at
10 the low end of the guideline range. (See Plea Agreement ¶¶ I, IV, X.) Both Defendant and the
11 government agreed not to recommend any additional adjustments. (Id. at ¶ X.)
12         Defendant was sentenced to fifty-seven months in custody, five years of supervised
13 release and a $100 mandatory assessment on Count 1, and fifty-seven months in custody, three
14 years supervised release and a $100 mandatory assessment on Count 3, to run concurrent with
15 Count 1. (Amended Judgment filed 5/10/06; Tr. of Proceedings before the Hon. M. James
16 Lorenz Without a Jury, 4/10/06 (“Sentencing, 4/10/06”1) at 9.)
17         Defendant makes four contentions in support of his Motion: (1) Petitioner’s plea was
18 “coerced or forced” because he was not allowed to withdraw the plea; (2) ineffective assistance
19 of counsel based on the allegations that defense counsel Bernard G. Skomal did not visit
20 Petitioner often enough and he was thereby denied the right to participate in his own defense; (3)
21 Petitioner was arrested in Hong Kong without proper authority or an indictment in violation of
22 his equal protection rights under the Fourteenth Amendment; and (4) violation of Petitioner’s
23 Fifth Amendment protection against self-incrimination, “pursuant to Miranda.” The Court
24 rejects all four contentions based on the record regarding the voluntariness of Defendant’s guilty
25 plea and waiver of collateral attack in the Plea Agreement.
26
27         1
          Two sentencing transcripts are referenced herein. At the first proceeding on 4/3/06, the
28 Court continued the hearing to accommodate Defendant’s desire to further consult with counsel.
   (See Sentencing, 4/3/06 at 4-5.) The second hearing was held a week later on 4/10/06.
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 1          The Plea Agreement informed Defendant that by pleading guilty he would waive certain
 2 constitutional and statutory rights, including his right to appeal or collaterally attack his
 3 conviction and sentence:
 4          In exchange for the Government’s concessions in this plea agreement, defendant waives,
            to the full extent of the law, any right to appeal or to collaterally attack the
 5          conviction and sentence . . ..
 6 (Plea Agreement ¶ XI (emphasis added).) The Plea Agreement contains one exception to
 7 Defendant’s waiver:
 8          ...unless the court imposes a custodial sentence greater than the high end of the guideline
            range (or statutory mandatory minimum term, if applicable) recommended by the
 9          Government pursuant to this plea agreement at the time of sentencing. If the custodial
            sentence is greater than the high end of that range, defendant may appeal . . ..
10
11 (Id.) The Court sentenced Defendant to a shorter custodial sentence than the high end of the
12 offense level recommended by the government. Therefore, the exception does not apply in this
13 case.
14          The Plea Agreement expressly set forth the agreed upon sentencing recommendations.
15 The parties agreed to a base offense level of 30 for Count 1, and adjustments of -2 for role and -3
16 for acceptance of responsibility. For Count 3, they agreed to a base offense level of 26 and an
17 adjustment of -3 for acceptance of responsibility. No agreement was reached as to Defendant’s
18 criminal history category. (Id. ¶ X.) At the sentencing hearing, the parties agreed that criminal
19 history category one was appropriate, and the government recommended a sentence at the low
20 end of the guideline range as promised. (Sentencing at 4-5, 7.) In accordance with the agreed
21 upon terms of the Plea Agreement and the government’s recommendation, the Court made the
22 recommended adjustments and sentenced Defendant to two custodial sentences of 57 months, to
23 run concurrent. (Cf. Plea Agreement ¶ X(A) and Sentencing at 9.) This sentence was at the low
24 end of the guideline range of 57-71 months. Without the Plea Agreement, Defendant faced a
25 potential life sentence and a mandatory minimum of ten years. ( Tr. of Proceedings before the
26 Hon. M. James Lorenz Without a Jury, 3/3/04 (“Disposition”) at 6.)
27          In the instant Motion, Defendant contends he “entered a plea that was coerced or forced
28 by not allowing withdrawal,” stating that he “originally filed a motion to withdraw but was
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 1 rejected.” He further argues that he received ineffective assistance of counsel because his
 2 counsel “did not visit often enough” and thereby denied Defendant the right to participate in his
 3 own defense. The Court disagrees with both contentions.
 4          “A defendant’s waiver of his appellate rights is enforceable if (1) the language of the
 5 waiver encompasses his right to appeal on the grounds raised, and (2) the waiver is knowingly
 6 and voluntarily made.” United States v. Jeronimo, 398 F.3d 1149, 1153 (9th Cir. 2005) (citing
 7 United States v. Joyce, 357 F.3d 921, 922 (9th Cir. 2004); United States v. Martinez, 143 F.3d
 8 1266, 1270-71 (9th Cir. 1998)). A plea agreement that waives the right to appeal or collaterally
 9 attack the conviction and sentence is unenforceable with respect to ineffective assistance of
10 counsel claims to the extent they challenge the voluntariness of the waiver. Washington v.
11 Lampert, 422 F.3d 864, 871 (9th Cir. 2005).
12          The record supports a conclusion that Defendant’s waiver was knowing and voluntary.
13 During the disposition hearing, Defendant declared under oath that he understood the trial rights
14 he was waiving, the charges to which he was pleading guilty, and the maximum penalties for
15 those violations. (See Disposition at 4-7, 10-11.) Defendant confirmed that he had read the Plea
16 Agreement and discussed it with his attorney paragraph by paragraph and that he understood it.
17 (Id. at 9.) Defendant signed the Plea Agreement and initialed each page. (Id.; see also Plea
18 Agreement.) The Court explained that if it followed the Plea Agreement and sentenced
19 Defendant according to its terms, Defendant has waived his right to appeal or collaterally attack
20 the sentence, and Defendant indicated that he understood. (Disposition at 11.) Defendant also
21 confirmed he had reviewed the sentencing guidelines with counsel and indicated he had no
22 questions about those guidelines. (Id. at 12-13.)
23          Defendant told the Court he was satisfied with his counsel’s services. (Id. at 13.) He then
24 affirmed he was not coerced by any threats or extraneous promises, and was entering the plea of
25 his own free will, because he was in fact guilty. (Id. at 13-14.)   Defendant acknowledged the
26 factual basis as set forth in the Plea Agreement and summarized at his disposition hearing was
27 accurate. (Id. at 17-19.) Defendant and his co-conspirators negotiated with undercover agents
28 for the sale of ton quantities of hashish and multiple kilogram quantities of heroin. (Id. at 15;
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 1 Plea Agreement ¶ II(B).) The conspirators agreed to offset the price of the narcotics to cover
 2 their reciprocal purchase of four stinger anti-aircraft missiles. (Disposition at 15-16; Plea
 3 Agreement at ¶ II(B)(4).) They intended to sell the anti-aircraft missiles to Taliban members,
 4 whom they knew to be the same as Al-Qaeda. (Disposition at 16, 19-20; Plea Agreement at ¶
 5 II(B)(5).) Defendant “was basically a middleman” between his co-conspirators and the
 6 government agents. (Disposition at 17-18.) The conspirators were initially negotiating from
 7 Pakistan, but later traveled to Hong Kong to meet and continue to negotiate with the undercover
 8 agents. (Disposition at 15-17; Plea Agreement at ¶ II(B).)
 9             Defendant’s contention that his plea was involuntary because he was not allowed to
10 withdraw the plea is refuted by the record. A separate counsel was appointed for Defendant’s
11 withdrawal of his plea. (Sentencing, 4/3/06 at 3.) However, Defendant later changed his mind
12 about withdrawing the plea. (See id.; see also Sentencing, 4/10/06 at 2-4.) He requested to
13 withdraw the motion to withdraw the plea, and the Court accepted this withdrawal. (Sentencing,
14 4/10/06 at 3.)
15             Defendant’s claim of ineffective assistance of counsel is a bald assertion without any
16 facts indicating how his counsel’s alleged failure to “visit often enough” affected the
17 voluntariness of his waiver. Since this argument fails to attack the voluntariness of the waiver, it
18 has been waived. See Lampert, 422 F.3d at 871; Jeronimo, 398 F.3d at 1153.
19             Defendant’s remaining claims fail because they are based on events occurring prior to his
20 plea. Defendant asserts Fifth and Fourteenth Amendment violations related to his arrest in Hong
21 Kong and his Miranda rights. “As a general rule, one who voluntarily and intelligently pleads
22 guilty to a criminal charge may not subsequently seek federal habeas relief on the basis of pre-
23 plea constitutional violations.” Hudson v. Moran, 760 F.2d 1027, 1029-30 (9th Cir. 1985).
24             The record establishes Defendant received a sentence in accordance with the Plea
25 Agreement and that his plea was knowing and voluntary. His waiver of the right to collaterally
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 1 attack the conviction and sentence is therefore valid, and his Motion is DENIED. The case is
 2 DISMISSED WITH PREJUDICE.
 3         IT IS SO ORDERED.
 4
 5 DATED: June 28, 2007
 6
                                                   M. James Lorenz
 7                                                 United States District Court Judge
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 8
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